2:16-cr-00055-DCN         Date Filed 04/06/18   Entry Number 105         Page 1 of 45




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

     UNITED STATES OF AMERICA,                      )
                                                    )       No. 2:16–cr–00055–DCN
                    vs.                             )
                                                    )                ORDER
     ERICK DIAZ,                                    )
     ALEXANDER GEORGE BOZZETTI,                     )
                                                    )
                    Defendants.                     )
                                                    )

           This matter is before the court on a motion to suppress filed by defendants

    Erik Diaz (“Diaz”) and Alexander George Bozzetti (“Bozzetti”) (collectively,

    “defendants”). After consideration of the testimony presented during multiple

    lengthy suppression hearings, a thorough analysis of the relevant caselaw, and a

    careful review of the dashcam video of the traffic stop, the court grants the motion to

    suppress. The court finds that there was no reasonable suspicion to prolong the traffic

    stop to conduct the free-air dog sniff as required under Rodriguez v. United States,

    135 S. Ct. 1609 (2015). Furthermore, even if the officers did have reasonable

    suspicion to prolong the traffic stop, the drug dog Rao (“Rao”) did not “alert.” And

    finally, even if Rao did “alert,” the court finds that Rao was unreliable under Florida

    v. Harris, 568 U.S. 237 (2013) such that its “alert” did not establish probable cause to

    search the vehicle.

                                     I. BACKGROUND

           On June 4, 2015, Lance Corporal K.L. Byrd (“Byrd”) of the South Carolina

    Highway Patrol (“SCHP”) visually observed a black Nissan with Florida license

    plates traveling at 77 miles per hour in a 70 miles per hour zone on Interstate 95 and



                                                1
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105         Page 2 of 45




    swerving multiple times across the white fog line. Byrd decided to pull the car over

    for the traffic infraction. See S.C. Code §§ 56-5-1810, 1900. Byrd stopped the car

    travelling southbound on I–95 at mile marker 68, roughly 9–10 hours from

    Pennsylvania. Tr. 21:1–16. Equipped with a dashboard video camera, Byrd’s vehicle

    recorded the ensuing traffic stop.

            Once the car stopped, Byrd approached the passenger side of the vehicle to

    find Diaz in the driver’s seat, and Bozzetti and Juan Rodriguez (“Rodriguez”) as

    passengers. Byrd asked Diaz for his license and registration and to step outside the

    vehicle. At this point, Byrd observed an “overwhelming” odor of air freshener from

    the five air fresheners visible, three clip–in air fresheners in the front air conditioning

    vents, one on the rear view mirror, and one hanging in the back passenger area. Byrd

    also noticed that the passenger in the front seat was breathing rapidly. Byrd

    explained to Diaz the reason for the traffic stop, and began to ask a series of questions

    about where the car was coming from, to which Diaz responded that the car was

    coming from Pennsylvania from his brother’s wedding. Byrd appeared to have

    difficulties understanding Diaz, as evidenced by Byrd asking where the car was

    coming from and Diaz repeating “Pennsylvania” multiple times before Byrd seems to

    understand the answer.

            Byrd then called for backup from his superior in the SCHP “Aggressive

    Criminal Enforcement” (“ACE”) team, Corporal Avery Stephen English (“English”).

    While Diaz was waiting outside his car, Byrd then went back to his police car to call

    Lance Corporal James Franklin Sweatman III (“Sweatman”) of the SCHP to come to

    the scene and bring his police dog Rao. After calling Sweatman, Byrd left the police



                                                 2
2:16-cr-00055-DCN      Date Filed 04/06/18      Entry Number 105         Page 3 of 45




    car and informed Diaz that the stop would take longer because he was checking the

    vehicle identification number (“VIN”). At this point, English had arrived. English

    then went to talk to the remaining two passengers in the car, Bozzetti and Rodriguez,

    and asked them questions including: “How long have you been on the road,” “How

    long were you all up in Pennsylvania,” and “Are you all related? Are you friends?”

    The passengers answered while Diaz was standing outside the car. English also asked

    the passengers questions about the wedding in Pennsylvania that Diaz had told Byrd

    they all attended on Sunday. When asked, Bozzetti told English that they were in

    Pennsylvania for the wedding of Diaz’s brother and that it was on Saturday. Upon

    running the VIN number back in the police car, Byrd determined that the rental car

    that Diaz was driving was due back in Miami the day before. 1 Byrd asked Diaz about

    the rental car being overdue under the rental agreement, to which Diaz responded that

    he called the rental company that day to extend the rental period for the car.

           Within fifteen minutes of first making contact with Diaz, Byrd handed Diaz’s

    documents back and explained the warning to him. After giving the warning, Byrd

    asked Diaz if he could search the vehicle. Diaz refused, and said that he would like to

    get back on the road to Miami. Byrd then said that Rao would run the exterior of the

    car and if it did not alert to narcotics, Diaz would be free to go. Diaz responded

    “Okay.” Sweatman then deployed Rao to conduct a free-air sniff of the vehicle to

    determine if there were narcotics in the vehicle. After being run around the car, Rao

    “alerted” to the driver’s door of the vehicle. The troopers asked the passengers if they



           1
              The rental car was rented in Miami on Wednesday for the wedding that was
    in Pennsylvania on Saturday or Sunday, and the car was stopped late at night the day
    after the rental car was due to be returned in Miami.
                                               3
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105        Page 4 of 45




    were “smoking a little marijuana, to tell us and we will let you be on your way.” The

    passengers all once again denied that there were any drugs in the car. Upon searching

    the car after Rao “alerted,” the officers found no narcotics but did find 171 credit and

    gift cards contained inside luggage and empty cigarette packs.

           Defendants Diaz and Bozzetti were indicted on one count of possession of

    counterfeit access devices, a violation of Title 18, United States Code § 1029(a)(3)

    and (2), and one count of aggravated identity theft, a violation of 18 U.S.C. §

    1028(a)(1). On January 13, 2017, Bozzetti filed a motion to suppress the evidence

    found in the car after the traffic stop. On April 12, 2017, Diaz joined the motion.

    The government responded on May 1, 2017. The court held a hearing on October 27,

    2017, during which it heard the testimony of English and Sweatman. Because Byrd

    could not be present at the first suppression hearing, the court continued the hearing

    until February 1, 2018, during which Byrd testified. The motion has been fully

    briefed and is now ripe for the court’s review.

                                     II. DISCUSSION

           Defendants challenge the seizure of the evidence in the case on three separate

    grounds: (1) that the initial traffic stop was not supported by reasonable suspicion; (2)

    there was not reasonable suspicion to warrant the additional detention after the traffic

    stop had been completed; (3) neither the drug dog nor the alert were reliable enough

    to establish probable cause. The court analyzes each argument in turn. 2



           2
               The court issued an oral order to sequester the witnesses at the beginning of
    the first suppression hearing on October 27, 2017. Tr. 3:18–21. This hearing was
    continued because Byrd was not present at the hearing, and resumed on February 1,
    2018. The day before his testimony, Byrd spoke to English about the facts of this
    case. Tr. 185:15–186:2. Diaz asked for the court to strike the testimony of both Byrd
                                                4
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105         Page 5 of 45




            A.     Bozetti’s Standing to Challenge Search

            The government first argues that Bozetti, as a passenger of the rental car

    whose name was not on the rental car agreement, 3 has no legitimate expectation of

    privacy in the contraband found under the front passenger side floor mats.

    Contraband was found in three locations: in the defendants’ luggage, in several empty

    cigarette packets, and under the front passenger side floor mats. It is the contraband

    found in this last category that the government challenges Bozetti’s standing to

    contest. 4




    and English entirely, arguing that this communication was a clear violation of the
    sequestration order that the court imposed at the beginning of the first suppression
    hearing in October 2017. Tr. 236:1–8. Counsel for the government countered that he
    “wasn’t aware of a sequestration order at the beginning of the case,” and if there was
    a sequestration order that he “assumed that [the law enforcement witnesses] were in
    court to hear it” but that he “[didn’t] know if [he] talked about it otherwise.” Tr.
    236:18–19.
             The court first stresses to the government the importance of communicating
    the requirements of sequestration to its witnesses—especially to those witnesses such
    as Byrd who were not physically present at the first suppression hearing to hear the
    court’s oral order. But it would be untenable for the court to strike the testimony of
    two out of the three law enforcement officers who testified during the suppression
    hearing as a sanction for Byrd and English’s violation of that sequestration order. For
    one, English had not yet violated the sequestration order at the time that he gave his
    testimony. And Byrd did not know about the sequestration order at the time that he
    communicated with English because the government had never informed him of it.
    Therefore, the court denies Diaz’s motion to strike the testimony of Byrd and English.
             3
               The parties do not contest the fact that Bozetti is not listed as an authorized
    driver on the rental car agreement.
             4
               Certainly, Bozetti as a passenger may challenge the reasonableness of the
    initial traffic stop. In Brendlin v. California, 551 U.S. 249, 259 (2007), the Court
    explained that a passenger can challenge the stop of a vehicle, if that stop was
    unreasonable because “[a] traffic stop necessarily curtails the travel a passenger has
    chosen just as much as it halts the driver, diverting both from the stream of traffic to
    the side of the road, and the police activity that normally amounts to intrusion on
    privacy and personal security does not [ ] distinguish between passenger and driver.”
    Id. at 257.
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2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105         Page 6 of 45




           The government relies on a rule about reasonable expectations of privacy that

    does not control in this case. Specifically, it relies on circumstances similar to that of

    United States v. Avagyan, 164 F. Supp. 3d 864, 880 (E.D. Va. 2016), aff’d sub nom.

    United States v. Ghazaryan, 2017 WL 1382027 (4th Cir. Apr. 18, 2017), where the

    court held that under Rakas v. Illinois, 439 U.S. 128 (1978), non-owner passengers

    who have the owner’s permission to use the car 5 have standing to challenge a search

    only of the “particular areas of the automobile in which he has a legitimate and

    reasonable expectation of privacy.” The Avagyan court went on to say that “[n]on-

    owner passengers who have the owner’s permission to be in the vehicle enjoy

    standing only as to items over which they have control; passengers, therefore, have no

    interest in the space under the driver’s seat, in the trunk, or in a locked glovebox to

    which only the owner has a key.” The government argues that under the current state

    of the law Bozetti cannot challenge the search of the front passenger side floor mats

    because he has no reasonable expectation of privacy in that part of the rental car.

    Certainly, while the contraband was not found in the trunk, the fact that the cards

    were found underneath the passenger side floor mats, and that a slit had been cut on

    the vertical portion of the floorboard below the glove compartment into which the

    cards appeared to have been hidden, indicates that Bozetti would not have had a

    legitimate expectation of privacy in that portion of the car and thus has no standing to

    contest the contraband that was found in that specific location. 6



           5
               It is not clear that Bozetti even had Diaz’s permission to use the rental car.
    No testimony was produced at the hearing that Bozetti even drove the car for portions
    of the trip.
             6
               The U.S. Supreme Court recently heard oral arguments in the case of Byrd v.
    United States, on whether drivers who are not listed as authorized drivers on the
                                                6
2:16-cr-00055-DCN      Date Filed 04/06/18      Entry Number 105         Page 7 of 45




           But that is not the correct rule. Here, Bozzetti was a passenger of the car who

    was seized as soon as Byrd impermissibly extended the traffic stop without

    reasonable suspicion. As soon as a defendant is illegally seized, that defendant is

    entitled to suppress any evidence that is derived from the unlawful seizure. In United

    States v. Rodriguez-Escalera, 2018 WL 1178359, at *7 (7th Cir. Mar. 7, 2018), the

    government pursued the exact same argument that is currently before the court.

    There, the government argued that the passenger in a car that was subjected to a free-

    air dog sniff had no standing to challenge the methamphetamine that was found in the

    subsequent search of that car once the drug dog alerted, even if the traffic stop had

    been unconstitutionally prolonged without reasonable suspicion. The Seventh Circuit

    rejected this argument out of hand, reasoning that because the passenger of the car

    had been detained without reasonable cause, “[t]he drug evidence was therefore

    derived from the unlawful seizure, and Rodriguez, as a subject of that seizure, is

    entitled to have suppressed any evidence which is the fruit of that violation.” Id.

    Here, there is a clear causal connection between Bozzetti’s seizure and the officers

    finding the contraband in the floorboard. Bozzetti was detained in the Nissan while

    Sweatman ran Rao around the Nissan to conduct a free-air sniff. Rao’s alert during

    this unconstitutionally prolonged seizure of Bozzetti is the only thing that gave the

    officers probable cause to search the car. Thus, any contraband seized during the




    rental agreement are entitled to the same protections under the Fourth Amendment as
    those who are included on the agreement. The Court has yet to issue an opinion.
    Surprisingly, neither party referenced Byrd in the briefing before the court or in their
    oral arguments. However, Bozetti makes no argument that he was driving the rental
    car at any point. Certainly, when the traffic stop was initiated Diaz—not Bozetti—
    was driving the car.
                                               7
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105        Page 8 of 45




    subsequent search of the car is inadmissible if it is the fruit of a prolonged unlawful

    seizure. Bozzetti—like the passenger in Rodriguez-Escalera—has standing to

    challenge the admission of any evidence which is the fruit of the unlawful seizure.

           B.      Reasonable Suspicion for Initial Traffic Stop

           Having determined that both defendants have standing to challenge the

    evidence that was seized as a result of the search, the court moves to the merits of the

    motion. Defendants first challenge the initial traffic stop as unconstitutional, arguing

    that Byrd lacked reasonable suspicion to stop the car. This argument is unavailing.

    Byrd “visually observed” Diaz speeding at mile marker 74, but did not turn on his

    blue lights and initiate the traffic stop until mile marker 68. Tr. 8–15. In those

    intervening six miles, Byrd also observed Diaz make a lane violation by crossing the

    white fog line. Tr. 194:19–23. It was only after Byrd observed Diaz cross the white

    fog line that he stopped the car.

           A traffic stop is a “seizure” within the meaning of the Fourth Amendment and

    must be reasonable under the circumstances. See Delaware v. Prouse, 440 U.S. 648,

    653–54 (1979). The constitutionality of a traffic stop is assessed under the two–prong

    standard in Terry v. Ohio, 392 U.S. 1 (1968). First, the articulated basis for the traffic

    stop must be legitimate. See United States v. Rusher, 966 F.2d 868, 875 (4th Cir.

    1992). Second, the officers’ actions during the traffic stop must be “reasonably

    related in scope” to the basis for the seizure. Id.

           This first prong is satisfied “whenever it is lawful for police to detain an

    automobile and its occupants pending inquiry into a vehicular violation.” See

    Arizona v. Johnson, 555 U.S. 323, 327 (2009). A “vehicular violation” includes a



                                                 8
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105         Page 9 of 45




    failure to comply with traffic laws. Here, Byrd visually observed the car going 77

    miles per hour in a 70 miles per hour speed zone, and observed the vehicle swerve to

    the right across the solid white fog line. Tr. 140:16–20 (Byrd testifying about pulling

    the Nissan over for traffic violations, specifically that he “noticed” the Nissan

    “traveling at a high rate of speed, 70 miles per hour” and then “actually cross the

    white fog line to the right.” Tr. 140:16–20. Both the speeding of the car and the

    swerving between lanes constitute traffic violations.

           In United States v. Sowards, 690 F.3d 583, 591 (4th Cir. 2012), the Fourth

    Circuit stated in broad terms that “the Fourth Amendment does not allow, and the

    case law does not support, blanket approval for the proposition that an officer’s visual

    speed estimate, in and of itself, will always suffice as a basis for probable cause to

    initiate a traffic stop.” Where, as here, the traffic stop is based on a vehicle’s

    estimated speed that is only slightly in excess of the legal speed limit, there must be

    “additional indicia of reliability” such as radar, pacing, or other corroborating

    evidence to support the reasonableness of the officer’s visual estimate. There was no

    testimony about whether Byrd’s so–called “visual inspection” of speeding was

    corroborated by pacing or radar. Instead, Byrd testified that he determined that the

    Nissan was speeding by “visually” looking at the vehicle and determining that the

    Nissan was going faster than 70 miles per hour. Tr. 192:10–12. Byrd did testify that

    he “did activate” his radar “at some point,” although he conceded that there was

    nothing in his report of the traffic stop that discussed a radar. Tr. 192:13–23.

    Certainly, Byrd was trained in visually estimating speeds and his testimony regarding

    Diaz’s rate of speed was credible. But based on the “totality of the circumstances”



                                                 9
2:16-cr-00055-DCN       Date Filed 04/06/18        Entry Number 105          Page 10 of 45




     analysis that remains the prevailing standard for evaluating the reasonableness of an

     officer’s visual speed estimate, Byrd’s visual speed estimate was in and of itself

     insufficient to constitute probable cause to initiate a traffic stop.

             That being said, Byrd did not initiate the traffic stop until he observed the

     vehicle travel across the fog line, or the white traffic line along the shoulder of the

     road. Swerving across the white traffic line is a traffic violation. S.C. Code § 56-5-

     1810, 1900. During the suppression hearing, no testimony was offered that Diaz did

     not actually swerve across the fog line. Instead, Diaz pointed to the lack of dashboard

     video recording of the traffic stop at issue in this case. The dashcam video did not

     capture the traffic infractions, as Byrd testified that the video activates only when the

     police cruiser’s blue lights turn on. Tr. 140:22–141:22. Furthermore, at the time of

     the traffic stop SCHP officers did not have any body cameras. Tr. 188:12–14.

     Despite Diaz’s best efforts to argue otherwise, the court has no reason to require that

     officers use their personal cellular phones to record a routine traffic stop. See Tr.

     195:13–19. Since Diaz has neither denied that he committed the traffic violation of

     swerving across the fog line nor produced any evidence that calls Byrd’s testimony

     into question, the court finds that Byrd had probable cause to initiate the traffic stop

     of the vehicle.

             In Whren v. United States, 517 U.S. 806, 809–810 (1996), the Supreme Court

     held that a traffic stop did not violate the plaintiff’s Fourth Amendment rights where

     the officer had probable cause to believe several vehicle code violations had been

     committed. The Whren court stated that “[a]s a general matter, the decision to stop

     an automobile is reasonable where the police have probable cause to believe that a



                                                  10
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105         Page 11 of 45




     traffic violation has occurred.” Id. Since the car swerved across the white fog line,

     this offense alone constitutes reasonable suspicion to effectuate a traffic stop. Byrd

     had reasonable suspicion for the initial traffic stop and the first prong of Terry is

     fulfilled. 7

              The second prong of the Terry test asks if the officer took impermissible

     actions after initiating the traffic stop. Officers may conduct certain safety-related

     checks such as requesting a driver’s license and vehicle registration, checking for

     criminal records, and outstanding arrest warrants “so long as” these unrelated inquires

     did not “measurably extend the duration of the stop.” Rodriguez v. United States,

     135 S. Ct. 1609, 1615 (2015) (quoting Johnson, 555 U.S. at 333). Here, Byrd asked

     Diaz for his driver’s license and vehicle information, asked Diaz to step out of his car

     and asked a number of questions for roughly two minutes about his trip. Byrd then

     checked the VIN, and concurrently asked the passengers of the car the same questions

     that he had asked Diaz about the trip. Byrd then headed back to his vehicle, and

     English arrived on the scene. Byrd then “debriefed” English on the situation, shared

     his concerns based on the passengers’ “nervous demeanor” and other factors that they

     were transporting contraband, after which English asked the passengers the same

     questions that Byrd had asked. While English was asking questions, Byrd checked




              7
               Defendants attempt to argue that Byrd’s traffic stop was pretextual, and that
     he did not initiate the traffic stop because of the speeding—which, admittedly, was
     only seven miles over the speed limit. However, the law is clear that the court may
     not inquire into an officer’s subjective reasons for initiating a stop. Whether Byrd
     had a pretextual reason for initially stopping the car is irrelevant in determining if
     there was reasonable suspicion for the stop. United States v. Johnson, 734 F.3d 270,
     275 (4th Cir. 2013) (holding that a traffic stop is legitimate “when officers observe a
     traffic violation, regardless of their true, subjective motives for stopping the vehicle”).
                                                 11
2:16-cr-00055-DCN      Date Filed 04/06/18        Entry Number 105          Page 12 of 45




     for outstanding warrants on the license and began to type out a warning. After

     printing out the warning, Byrd asked Diaz a number of questions about the presence

     of contraband in the vehicle as well as questions about his itinerary. Byrd then

     handed Diaz the warning, and asked if he could search the vehicle. At the point that

     Byrd handed Diaz the warning, the initial traffic stop was complete. The court now

     finds that Byrd did not delay the stop to ask questions irrelevant to the purpose of the

     stop, as Byrd’s questions about the purpose and itinerary of the defendants’ trip were

     posed during and were relevant to the legitimate traffic stop. See Muehler v. Mena,

     544 U.S. 93 (2005) (Analogizing questioning during a search to performing a dog

     sniff during a traffic stop, which does not violate the Fourth Amendment if it does not

     extend the stop “beyond the time reasonably required to complete [the stop’s original

     purpose].”). The Fourth Circuit has cautioned against engaging in “post hoc

     evaluation of police conduct” to determine if there are less–intrusive means by which

     the objectives of the traffic stop could have been accomplished. Palmer, 820 F.3d at

     649 (quoting United States v. Sharpe, 470 U.S. 675, 686–87 (1985).

            Since the traffic stop fulfills both prongs of the Terry test, the initial traffic

     stop was constitutional and does not constitute a ground for suppression.

            C.      Reasonable Suspicion to Prolong the Traffic Stop

            Next, the defendants contend that the evidence should be suppressed because

     there was no reasonable suspicion to prolong the traffic stop as required to conduct

     the free-air dog sniff under Rodriguez. 8 The court agrees.



            8
              Diaz had already refused to consent to a search of the car, at which point
     Byrd stated that Rao would be run around the car. The government makes no
     argument that the free-air dog sniff was the result of a consent search. Indeed, Byrd
                                                 12
2:16-cr-00055-DCN         Date Filed 04/06/18     Entry Number 105          Page 13 of 45




                     1.      Applicable Rule

             The government relies on Illinois v. Caballes, 543 U.S. 405 (2005) to argue

     that the Supreme Court has already held that “law enforcement may use a canine to

     sniff around a vehicle even in the absence of reasonable, articulable suspicion of drug

     activity.” Gov. Resp. 6. First, this is a misrepresentation of the basic rule articulated

     in Caballes. In Caballes, the Supreme Court found that the use of a trained narcotics

     sniffing dog around the exterior of car during an otherwise lawful traffic stop was

     permissible because it did not implicate privacy interests, and that “the duration of the

     stop . . . was entirely justified by the traffic offense and the ordinary inquiries incident

     to such a stop.” Furthermore, Caballes is inapplicable here—Byrd had already

     handed Diaz the warning, thus ending the traffic stop, before the dog sniff was

     initiated. Caballes says nothing about whether reasonable suspicion is required where

     a dog sniff is initiated after an “otherwise–completed traffic stop.” The applicable

     rule is the one articulated in Rodriguez. In Rodriguez, the Court addressed the

     question of “whether the Fourth Amendment tolerates a dog sniff conducted after

     completion of a traffic stop,” and held that “a police stop exceeding the time needed

     to handle the matter for which the stop was made violates the Constitution’s shield

     against unreasonable seizures.” Id. at 1612. The Rodriguez Court discussed the

     mission of a traffic stop as encompassing the typical “checking of the driver’s license,




     admitted that although he asked Diaz for consent to search his car, Diaz was “[n]ot at
     that point” free to leave as Byrd believed that he had “not enough probable cause at
     that point” to do a free-air dog sniff. Tr. 168:13–24. Therefore, the dog sniff could
     not be a search pursuant to consent.
                                                 13
2:16-cr-00055-DCN        Date Filed 04/06/18     Entry Number 105        Page 14 of 45




     determining whether there are outstanding warrants, and inspecting the automobile's

     registration and proof of insurance.” Id. at 1615.

            In Rodriguez, the officer had issued a warning and returned the driver’s

     documents prior to the dog sniff. Similarly, here the dashcam video clearly shows

     that Byrd had already issued Diaz the warning before the dog sniff was initiated. The

     warning was issued 15 minutes after Byrd “first made contact” with Diaz. The entire

     stop took 23 minutes, so the dog sniff extended the stop by 8 minutes. The dog sniff

     therefore prolonged the stop. 9 And indeed, English himself testified that Byrd had

     completed the initial traffic stop before the free-air sniff was conducted, as Byrd had

     returned all of the passengers’ ID cards, registration, and rental car agreement, and

     explained the warning before Rao was run around the car. Tr. 17:19–18:10. To be

     constitutionally reasonable, Byrd needed reasonable suspicion to conduct it. As

     explained below, the court finds that there was no reasonable suspicion.

                    2.      Reasonable Suspicion

            For reasonable suspicion, an officer must be able to articulate more than an

     “‘inchoate and unparticularized suspicion or hunch’ of criminal activity.” Illinois v.



            9
              The government argued that Rao had arrived on the scene at the point that
     Byrd was handing Diaz the warning. However, Rodriguez held that the critical
     question as to whether a dog sniff during a traffic stop violates the Fourth
     Amendment is not whether the dog sniff occurs before or after the officer issues the
     warning or ticket, but rather whether conducting the sniff adds time to the stop.
     Rodriguez, 135 S.Ct. at 1619–1621. The Rodriguez court specifically held that “a
     police stop exceeding the time needed to handle the matter for which the stop was
     made violates the Constitution’s shield against unreasonable seizures.” Id. at 1612
     (emphasis added). Even under the most expansive interpretation of how much time
     an officer needs to complete the mission of a traffic stop, certainly the “time needed”
     to handle the matter for which the traffic stop was initiated ended when Byrd handed
     Diaz the warning. Under Rodriguez, for any actions taken after that point, the
     officers needed reasonable suspicion.
                                                14
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105         Page 15 of 45




     Wardlow, 528 U.S. 119, 123–124 (2000) (quoting Terry v. Ohio, 392 U.S. 1, 27

     (1968)). The reasonable suspicion test is one of totality of the circumstances. United

     States v. Perkins, 363 F.3d 317, 319 (4th Cir. 2004). However, the court may

     evaluate the “cumulative information” available to the police officer to determine if a

     series of innocent acts taken together can rise to the level of reasonable suspicion.

     United States v. McBride, 676 F.3d 385, 392 (4th Cir. 2012).

            This court first surveyed how courts in this circuit had ruled in similar factual

     situations post-Rodriguez to set forth some guideposts by which this court could

     determine if Byrd impermissibly extended the duration of the traffic stop to conduct

     the dog sniff. Namely, the court uses two post-Rodriguez Fourth Circuit cases to

     draw out some factors that are important in determining whether reasonable suspicion

     existed, one in which the Fourth Circuit found that there was reasonable suspicion for

     a dog sniff and another where there was not.

            In United States v. Williams, 808 F.3d 238, 244 (4th Cir. 2015), the Fourth

     Circuit found that there was no reasonable suspicion to deploy a drug dog, even

     viewing the evidence in the light most favorable to the government as required by

     United States v. Watson, 703 F.3d 684, 689 (4th Cir. 2013). The government’s

     argument for a finding of reasonable suspicion rested on five factors: (1) the

     defendants were traveling in a rental car; (2) the defendants were traveling “on a

     known drug corridor at 12:37 A.M.”; (3) defendants’ stated travel plans were

     inconsistent with the due date for the return of the rental car; and (4) the defendant

     was unable to provide a permanent home address in New York even though he




                                                15
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105         Page 16 of 45




     claimed he lived there part–time. 10 The Williams court first dismissed the factors that

     defendant was using a rental car and that defendant was driving at night on an

     interstate highway as constituting reasonable suspicion, finding that “the

     overwhelming majority of rental car drivers . . . are innocent travelers with entirely

     legitimate purposes” and that there was “no basis on this record for assigning some

     nefarious significance to the 12:37 AM time of traffic stop,” as “it is far from self–

     evident that interstate trafficking of drugs and contraband is more common at night.”

     Williams, 808 F.3d at 249. For the third factor, that of the expiring rental agreement,

     the Williams court quoted the Tenth Circuit’s decision in United States v. Santos, 403

     F.3d 1120, 1129 (10th Cir. 2005) that “law-abiding rental car users frequently extend

     the rental without incurring a penalty or paying a higher rate” and that a “large

     number of innocent travelers [] extend their trips beyond the time originally provided

     for in their rental agreements” in finding that just because the defendant’s travel plans

     exceeded the duration of the rental agreement there was no reasonable suspicion of

     criminality. Williams, 808 F.3d at 249. Finally, the Fourth Circuit rejected the fourth

     factor, that the defendant was unable to provide a home address.

            More recently, the Fourth Circuit in United States v. Palmer, 820 F.3d 640,

     647 (4th Cir. 2016) upheld a district court’s denial of a motion to suppress where the



            10
                The court notes that in Williams, the drug dog was already on the scene at
     the time that the vehicle was stopped initially. Id. Here, Rao arrived on the scene
     with Sweatman while Byrd was giving Diaz the warnings. Gov.’s Resp. 4. This
     means that at some point during the traffic stop, Byrd called for Sweatman and Rao to
     come to the scene. Calling a drug dog is not within the mission of a traffic stop. This
     fact bolsters the court’s conclusion that the traffic stop had been impermissibly
     extended by the drug dog sniff and so the officers needed reasonable suspicion to
     conduct the free-air dog sniff. It follows that the applicable rule is that of Rodriguez
     as opposed to the rule in Caballes.
                                                16
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105        Page 17 of 45




     following reasonable suspicion factors existed to extend the traffic stop with a drug

     dog sniff: (1) defendant was in a high crime area where citizens were complaining

     about drug dealing; (2) the officer believed that the car’s windows were illegally

     tinted; (3) the defendant was nervous during the traffic stop; (4) the car emitted an

     “overwhelming” scent of air freshener from the multiple air fresheners in the car; (5)

     defendant was a suspected member of a violent gang; (6) defendant’s driver’s license

     listed a P.O. box address rather than a residence; (7) defendant was driving a vehicle

     registered in another person’s name; and (8) defendant had a criminal record that

     included four previous arrests for narcotics charges as well as a charge of possession

     of a firearm by a convicted felon. The Palmer court found it particularly

     “compelling” that when the officer approached the car he smelled an overwhelming

     odor from the air fresheners that he could see in the vehicle, suggesting that the

     defendant was attempting to mask the smell of drugs. See also United States v.

     Foreman, 369 F.3d 776, 785 (4th Cir. 2004) (concluding that air fresheners on

     rearview mirror supported reasonable suspicion because they are “commonly used to

     mask the smell of narcotics”).

            In considering whether the factors articulated by a police officer amount to

     reasonable suspicion, the court is to “separately address each of these factors before

     evaluating them together with the other circumstances of the traffic stop.” United

     States v. Powell, 666 F.3d 180, 187–88 (4th Cir. 2011). In Williams, the court

     conducted the “totality of the circumstances” analysis by first reviewing each of the

     facts relied upon by the district court during an evidentiary hearing on a suppression

     motion first separately and then in the aggregate. This analysis means that the court



                                                17
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105         Page 18 of 45




     should first parse out each of the factors that the officers believe constituted

     “reasonable suspicion” to prolong the traffic stop to conduct the drug dog sniff

     separately to determine if each factor rises to the level of reasonable suspicion, and

     eliminate those factors that are “innocent facts” when analyzed separately. For

     example, the fact that Diaz was driving a rental car and that he was driving on a major

     interstate highway after midnight are “innocent facts” as discussed by the Williams

     court. After eliminating those innocent facts, the court must conduct a “totality of the

     circumstances” analysis with the remaining facts to determine if those taken together

     could constitute reasonable suspicion. The ultimate inquiry is whether the factors

     “taken together . . . eliminate a substantial portion of innocent factors.” Williams,

     808 F.3d at 251.

            In its briefing, the government’s totality of the circumstances analysis consists

     of one sentence—that the officers had reasonable suspicion to prolong the traffic stop

     because “a driver and passenger of a vehicle rented less than a week earlier and

     wreaking [sic] of cologne and air fresheners cannot keep their stories straight as to

     whose wedding they attended.” Gov.’s Resp. 6. During the hearing, the government

     brought out more factors, specifically that: (1) Byrd noticed a strong odor of air

     freshener and cologne in the car, with five air fresheners in view including in the front

     air vents, rearview vents, the rearview mirror, and the rear passenger area; (2) the

     time of the traffic stop was after midnight; (3) the “nervous demeanor” of the

     defendants; (4) contradictory answers from Diaz and Bozzetti about whether the

     wedding in Pennsylvania occurred on Saturday or Sunday and whose wedding they

     had been attending; (5) the rental agreement was expired, as it showed that the car



                                                 18
2:16-cr-00055-DCN         Date Filed 04/06/18     Entry Number 105         Page 19 of 45




     was to be returned to Miami by June 3rd at 3 PM, which was approximately 36 hours

     prior to the traffic stop. 11 The court now turns to consider these factors in greater

     depth.

                     1.      Air Fresheners

              The first factor in the reasonable suspicion analysis is the number of air

     fresheners in the car. Specifically, Byrd testified that as he approached the car, he

     was “hit with the smell” of the air fresheners, as well as “probably like a cologne

     smell.” Tr. 165:5–12. Byrd testified that he visually observed five air fresheners in

     the car. Tr. 165:22–23. He also observed newly purchased cologne, with “boxes all

     well” in the car, which he testified in his experience was often used as a “masking

     agent” to mask the odor of drugs. Tr. 166:2–6; 18–24. English testified that there

     was “an overwhelming smell of air freshener and cologne coming out of the car.” Tr.

     12:21–23. English visually observed the air fresheners, “several hanging from the

     rearview mirror” and one “hanging from the rear passenger door handle,” which

     English further testified was “a little bit unusual” in a “new rental car” and in his

     experience was “normally” to mask the odor of narcotics “from either the officer

     and/or the canine.” Tr. 13:7–13.

              Certainly, courts have found the “overwhelming odor from the air fresheners

     that he could see in the vehicle” as supporting an officer’s reasonable suspicion that

     there are drugs in the car. For example, in United States v. Foreman, 369 F.3d 776,

     785 (4th Cir. 2004) the court concluded that air fresheners on rearview mirror




              11
              Neither English nor Sweatman wrote a substantive report in this case. The
     only report was written by Byrd. Tr. 23:21–25.
                                                 19
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105        Page 20 of 45




     supported reasonable suspicion because they are “commonly used to mask the smell

     of narcotics.” In United States v. Palmer, 820 F.3d 640, 652 (4th Cir. 2016) the court

     found it “compelling” that an officer who approached a “darkly tinted Nissan’ in a

     “high–crime area” where police had recently received complaints about illegal drug

     activity smelled the “overwhelming odor from the air fresheners.” Of course, there

     the air fresheners were just one “concrete factor” in the reasonable suspicion analysis,

     which in this particular situation included the officer’s knowledge that Palmer was a

     suspected member of a gang which was frequently involved in narcotics distribution,

     as well as Palmer’s four earlier arrests on drug charges. Id. Here, Diaz was stopped

     on an interstate highway in a rented Nissan with no tinted windows, and the officers

     had no knowledge of any gang affiliation or of any previous convictions.

     Furthermore, three of the five air fresheners were clip–in air fresheners, which the

     Seventh Circuit recently discussed in Rodriguez–Escalera as “three or four small

     sticks clipped into the car’s air vents” which were “not ‘excessive’ to the point of

     suggesting unlawful activity.” United States v. Rodriguez–Escalera, ––– F.3d ––––,

     2018 WL 1178359, at *6 (7th Cir. Mar. 7, 2018).

            And finally, a review of the dashcam video shows Diaz explaining to the

     officers that the reason why there were so many air fresheners in the car was because

     all three men in the car were smoking cigarettes and the rental car agreement

     prohibited cigarette smoking in the car. See also Tr. 60:10–21 (English testifying that

     Diaz explained to Byrd that they were not allowed to smoke in the rental car).

     Indeed, when asked if there was any visual evidence in the car that defendants were

     “heavy cigarette smokers,” English admitted that “[t]here was numerous packs of



                                                20
2:16-cr-00055-DCN        Date Filed 04/06/18      Entry Number 105         Page 21 of 45




     Marlboros . . . cigarettes throughout the vehicle.” Tr. 65:15–18. The court may

     consider how facts later obtained “mitigate or dispel” suspicion. Rodriguez–Escalera,

     2018 WL 1178359 at *6 (citing Terry, 392 U.S. at 28). The court in United States v.

     Wrobel, 2018 WL 297570, at *6 (D. Idaho Jan. 3, 2018) confronted a similar

     scenario. There too, the officer testified that he suspected the defendant was

     attempting to cover up the smell of narcotics his vehicle because there was a strong

     odor of air freshener in the car. Id. In addition to the smell of air freshener, the

     officer also observed an ash tray and cigarette butts in the center console of the

     vehicle. Id. The Wrobel court reasoned that “[r]ental companies typically prohibit

     smoking in rental cars, and charge substantial cleaning fees when renters smoke in

     their vehicles” and that therefore it was not “particularly suspicious for a driver to

     obtain and use air freshener when smoking cigarettes in a rental car.” Id. Given that

     Diaz provided an explanation of the odor that the air fresheners were used to mask—

     cigarette smoke—and the officers testified that they visually observed packs of

     cigarettes, the court gives minimal weight to the “overwhelming odor” of air

     fresheners in the rented Nissan.

                    2.      Source Cities

            Next, Byrd and English both testified that Diaz was traveling to Miami, a

     “known source city.” English testified that he found it suspicious that defendants

     were “traveling in the middle of the night” in a rental car “from one source city”—

     Philadelphia—“to another”—Miami. Tr. 20:14–18. He went on to explain his

     reasoning that “we have subjects that are traveling in the middle of the night in a

     rental car from one source city back to another.”    Tr. 20:10–18. Byrd testified that



                                                 21
2:16-cr-00055-DCN        Date Filed 04/06/18     Entry Number 105         Page 22 of 45




     in his experience working as a trooper on I–95, “Miami is a source city for things like

     drugs,” and “people coming out of Miami are known for carrying that thing, because

     it’s a source city right there by the port.” Tr. 144:15–16.

            As the Fourth Circuit noted as early as 1991, “the vast number of persons

     coming from those ‘source cities’ relegates this factor to a relatively insignificant

     role.” United States v. Wilson, 953 F.2d 116, 125 (4th Cir. 1991); see also Reid v.

     Georgia, 448 U.S. 438, 441 (1980) (holding that defendant's arrival from “source

     city” was an insufficient foundation for reasonable suspicion and stating the

     “circumstances describe a very large category of presumably innocent travelers”).

     The court echoes Chief Judge Gregory’s concurrence in United States v. Foreman,

     369 F.3d 776, 795 (4th Cir. 2004) that “given the ubiquity of ‘source cities,’ it seems

     that every traveler on an interstate road in the United States is likely headed in the

     direction of, or from, a ‘source city’ along that road, ostensibly placing them in a

     ‘drug corridor.’” And indeed, when pressed Byrd conceded that while any large city

     would not be considered a source city “as much as” Miami, cities such as Atlanta and

     New York could all be considered source cities. Tr. 215:14–216:17. Therefore, the

     court gives minimal weight to the fact that the car was traveling to a source city.

                    3.      Rental Car

            Byrd stated that a number of people transporting drugs on interstate highways

     do so in rental cars. Certainly, “illegal transport of drugs often involves the use of

     rental cars traveling from source cities such as Miami.” United States v. Thomas, 913

     F.2d 1111, 1116 (4th Cir. 1990). However, as the Fourth Circuit explained in United

     States v. Williams, 808 F.3d 238, 247 (4th Cir. 2015), the use of a rental car is of



                                                22
2:16-cr-00055-DCN        Date Filed 04/06/18     Entry Number 105        Page 23 of 45




     “minimal value to the reasonable–suspicion evaluation” because the “overwhelming

     majority of rental car drivers on our nation’s highways are innocent travelers with

     entirely legitimate purposes.” Therefore, the use of a rental car is of minimal value to

     the reasonable suspicion analysis.

                    4.      Interstate Highways

            Byrd also explained that interstate highways such as I–95 can be drug

     corridors. But as the Williams court made clear, “many drug traffickers use interstate

     highways such as I–85, but so do many more innocent motorists.” United States v.

     Williams, 808 F.3d 238, 248 (4th Cir. 2015). Standing alone, the observation that

     Diaz used an interstate highway is entitled to little weight in the reasonable suspicion

     analysis.

                    5.      Nervous Demeanor

            Both Byrd and English testified at length about the defendants’ nervous

     demeanor. Byrd testified that Diaz was “extremely nervous” and his body language

     included “[l]ip quivering, overdramatic with the hand gestures,” and that Diaz

     “overall looked like he was scared for some reason.” Tr. 145:19–25. Before English

     approached the car himself, he was informed by Byrd that he thought Diaz “had more

     to hide than just being tired or in a hurry to get back to Florida” because Diaz

     “wouldn’t make eye contact” and his bottom lip was “quivering.” Tr. 10:16–20.

     English testified that when he spoke to Diaz, Diaz “wouldn’t make eye contact,” and

     when he gave responses “would sort of look out across the median” which English

     testified was “normally a sign of deception.” Tr. 12:1–4.




                                                23
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105        Page 24 of 45




            Byrd and English’s observations about Diaz’s nervous demeanor are rebutted

     by the dashboard video in this case, which shows just how many times Diaz makes

     eye contact with Byrd. Certainly, the video of the traffic stop is “the most reliable

     evidence of the detainees’ demeanor” as the Seventh Circuit recently recognized in

     United States v. Rodriguez–Escalera, ––– F.3d ––––, 2018 WL 1178359, at *5 (7th

     Cir. Mar. 7, 2018). The court need not credit the officers’ testimony that Diaz was

     “extremely nervous,” Tr. 10:5, where it is apparent from the dashcam video that Diaz

     calmly answered all of Byrd’s questions while standing outside on a noisy and busy

     interstate highway at a late hour of the night. See Rodriguez–Escalera, 2018 WL

     1178359, at *5 (Holding that the court was not required to credit an officer’s

     testimony that a defendant “appeared nervous” where the court’s own review of the

     video footage of the traffic stop led it to determine that the defendant was not acting

     “suspiciously nervous.”).

            Furthermore, as the Fourth Circuit cited with approval in its most recent foray

     into the realm of dog sniffs in United States v. Bowman, ––– F.3d ––––, 2018 WL

     1093942 (4th Cir. Mar. 1, 2018), nervousness “is an unreliable indicator, especially in

     the context of a traffic stop.” The Bowman court reiterated that the Fourth Circuit has

     recognized “on multiple occasions” that a driver’s nervousness “is not a particularly

     good indicator of criminal activity, because most everyone is nervous when

     interacting with the police.” Bowman, 2018 WL 1093942, at *8, citing United States

     v. Palmer, 820 F.3d 640, 651 (4th Cir. 2016). The Bowman court distinguished

     “nervous, evasive behavior,” such as the suspect who fled upon seeing the police in

     Illinois v. Wardlow, 528 U.S. 119, 123 (2000). As the dashcam video reveals, Diaz



                                                24
2:16-cr-00055-DCN        Date Filed 04/06/18     Entry Number 105        Page 25 of 45




     was calm and cooperative during the traffic stop. At no point did he attempt any

     evasive behavior. As is present here, signs of nervousness, standing alone, are to be

     discounted when determining the officer’s basis for reasonable suspicion. The

     Bowman court reasoned that “[t]here is nothing intrinsically suspicious or nefarious

     about the occupant of a vehicle not making eye contact with an officer during a traffic

     stop.” Id. at *9. It went on to state that “[g]iven the complex reality of citizen–police

     relationships . . . a young man’s keeping his eyes down during a police encounter

     seems just as likely to be a show of respect and an attempt to avoid confrontation.”

     Id. (citing United States v. Massenburg, 654 F.3d 480, 488 (4th Cir. 2011)). The

     court reiterates this point—an officer’s recitation of “furtive movements” is not

     talismanic in the reasonable suspicion analysis. Therefore, the court does not give

     this factor much weight in its reasonable suspicion analysis.

                    6.      Expiring Rental Agreement

            Byrd said that an additional factor to make him develop reasonable suspicion

     was that Diaz was driving a rental car, where a review of the rental car agreement

     demonstrated that it had expired hours before the traffic stop. Tr. 151:15–18 (Byrd

     testifying that “it seemed strange” when he was “looking at a rental agreement that’s

     expired” because “that costs a lot of money,” and that the expired rental agreement

     was “another little bullet point that [he] noticed that was strange.”) Byrd observed

     that the rental agreement was expired at the beginning of the stop, when Diaz handed

     it over, but did not ask Diaz about it “at that time.” Tr. 148:7–9. “[I]nnocent

     travelers frequently extend rental agreements.” United States v. Williams, 808 F.3d

     238, 250 (4th Cir. 2015). And indeed, when Byrd questioned Diaz about his expired



                                                25
2:16-cr-00055-DCN        Date Filed 04/06/18    Entry Number 105         Page 26 of 45




     rental agreement Diaz answered that he had called the rental car company to extend

     the rental agreement. Tr. 163:10–14. This factor is of limited value in the court’s

     reasonable suspicion analysis.

                    7.      Conflicting Stories of Wedding

            Finally, Diaz and Bozzetti gave conflicting stories about whose wedding they

     were going to attend and the date of the wedding. Diaz informed Byrd that they were

     traveling from Pennsylvania, and they had traveled to Pennsylvania for Diaz’s

     “brother’s wedding that occurred on Sunday.” Tr. 143:17–20. After speaking with

     Diaz, Byrd then went to speak with Bozzetti. Tr. 149:1–25. Bozzetti also told Byrd

     that they had been travelling from Pennsylvania, but said that it was to attend Diaz’s

     sister’s wedding, and that the wedding occurred on Saturday. Tr. 149:8–10; Tr.

     150:22–23. English testified that Byrd told him about the discrepancies in the stories

     of the passengers about the date of the wedding they were attending and whose

     wedding it was. Tr. 10:3–11. English then went to speak with Diaz and Bozzetti,

     who repeated their stories to him. Tr. 164:1–7. This was, according to English, “just

     a lot of conflicting stories for three men that were traveling together.” Tr. 10:11–13.

     English reasoned that “if they had actually done these things [they] shouldn’t have

     any problem recalling their story.” Tr. 10:13–15.

            The question of whether inconsistent statements constitute reasonable

     suspicion to extend a traffic stop is not one that has been squarely confronted by the

     Fourth Circuit, although the cases largely support the government’s argument that

     inconsistencies can, in conjunction with other factors, constitute reasonable suspicion.

     In United States v. Sang, 89 F.3d 831 (4th Cir. 1996) (per curiam) (unpublished table



                                                26
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105        Page 27 of 45




     decision), the Fourth Circuit found reasonable suspicion where a driver’s stated travel

     plan was inconsistent with the travel plan provided by the passenger.

            But the factor of inconsistent stories in formulating reasonable suspicion has

     been discussed at some length by other courts. A line of cases from the Fifth Circuit

     supports defendants’ argument that inconsistent stories are insufficient to create

     reasonable suspicion. In United States v. Estrada, 459 F.3d 627, 631 (5th Cir. 2006),

     the court held that reasonable suspicion “does not arise solely from the inconsistent

     answers regarding the length of . . . ownership of the truck,” although it ultimately

     held that there was “significant physical evidence” that there was a hidden

     compartment in the truck where illegal narcotics were ultimately found that supported

     reasonable suspicion. In United States v. Santiago, 310 F.3d 336, 338–39 (5th Cir.

     2002), the court recognized that inconsistent stories between a driver and a passenger

     about the length of their planned trip and “uneasy feelings” about the passengers’

     demeanor did not support reasonable suspicion of drug trafficking. In the Sixth

     Circuit, both United States v. Orsolini, 300 F.3d 724, 726 (6th Cir. 2002) and United

     States v. Hill, 195 F.3d 258 (6th Cir. 1999) are instructive in guiding the court about

     when inconsistent stories in conjunction with other factors are enough for reasonable

     suspicion. In Orsolini, the driver and passenger gave inconsistent stories about whom

     they were going to visit. Orsolini, 300 F.3d at 728. The Sixth Circuit found that the

     inconsistent stories, in conjunction with other factors such as the recent purchase of

     the vehicle with cash in a source city for drugs and that the driver’s only proof of

     identification was a photocopy of an interim license, were sufficient to support

     reasonable suspicion. Id. at 729. In Hill, the driver and passenger gave inconsistant



                                                27
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105       Page 28 of 45




     stories regarding their itinerary. Hill, 195 F.3d at 271. The Sixth Circuit held that

     these inconsistent stories, in conjunction with the defendants’ implausible explanation

     for the trip and the nervous behavior exhibited throughout the stop was sufficient for

     reasonable suspicion. Id. at 272. But in United States v. Mesa, 62 F.3d 159, 162–63

     (6th Cir. 1995), the Sixth Circuit rejected an officer’s argument that he had

     reasonable suspicion where the passengers told inconsistent stories regarding whether

     the relative they had visited had a heart attack or a stroke.

            Here, the inconsistencies in the stories of the passengers of whose wedding

     the defendants had attended in Pennsylvania and on what day the wedding took place

     certainly supported the conclusion that one or more of the passengers were lying

     about the reason for their trip. Furthermore, the inconsistent stories between Diaz and

     Bozzetti on the day that the wedding in Pennsylvania occurred and whose wedding

     had taken place was not the only circumstance that created reasonable suspicion in

     Byrd’s mind. But Byrd presented no testimony about why the alleged inconsistencies

     led him to believe that the defendants were involved in criminal activity, just that they

     gave him inconsistent stories about their trip.

            Weighing the testimony of the officers and the video and audio recording of

     the traffic stop, the court concludes that there was no reasonable suspicion to allow

     Byrd to extend the stop. Contrary to the officer’s description of Diaz’s nervous

     demeanor, a review of the dashcam video reveals that Diaz was relatively calm and

     collected throughout the stop. The court also concludes that the air fresheners that the

     officer observed in the Nissan were not so excessive as to raise reasonable suspicion,

     especially where Diaz informed the officers that the air fresheners were to mask the



                                                 28
2:16-cr-00055-DCN       Date Filed 04/06/18      Entry Number 105         Page 29 of 45




     odor of cigarette smoking which was prohibited by the rental car agreement and

     officers observed empty cigarette packs on the floor of the vehicle. No criminal

     history, tips, or surveillance supported Byrd’s suspicions about Diaz, who testified

     that he had no knowledge of the defendants before initiating the traffic stop. Tr.

     162:7–9. Cf. United States v. Finke, 85 F.3d 1275, 1282 (7th Cir. 1996) (criminal

     history check revealed that defendant had two prior drug convictions, which “strongly

     confirmed [the police officer’s] initial suspicions” about narcotics activity).

     Certainly, the conflicting stories of whose wedding was in Pennsylvania and the date

     of the wedding could support reasonable suspicion, but the entire set of circumstances

     taken together do not rise to the level of reasonable suspicion.

            This court recognizes and gives appropriate weight to the officers’ assessment

     of certain circumstances based on their training and experience. 12 However, it also



            12
                Defendants brought up the “serious question” of “whether or not [the
     officers] were delaying this traffic stop in order to develop probable cause or to
     develop reasonable suspicion.” Tr. 243:20–22. The court shares the defendants’
     concern with how the officers’ involvement in the ACE team influenced their
     reasonable suspicion calculus. The ACE team is trained in “proactive traffic
     enforcement methods,” and are instructed to “investigate beyond the traffic summons
     or warning” when “reasonable suspicion is developed.” Def.’s Ex. 3, South Carolina
     Highway Patrol Aggressive Criminal Enforcement Interdiction Team Principles. This
     ACE team was tasked with, according to English, “looking for felons, drugs, things
     beyond the normal traffic stop.” Tr. 7:23–25. English elaborated that as part of the
     ACE team, he was trained to “[g]o beyond the license plate,” and that he in turn
     taught classes on “things that people may say or do or things that you may see in a car
     that makes you want to ask a few more question[s] and develop some reasonable
     suspicion or probable cause.” Tr. 8:1–13. English conceded in his testimony that as a
     part of the ACE team, he was “trained to develop reasonable suspicion.” Tr. 24:21–
     25. This is “developed,” according to English, through interviews with passengers
     during traffic stops, because “[i]f you don’t have any conversation with them
     whatsoever, then there’s no way to develop that probable cause.” Tr. 26:1–4.
     Sweatman concurred that as a part of the “ACE team,” he was trained “to develop
     probable cause or reasonable suspicion.” Tr. 101:12–14. English further explained
     that when Byrd called for backup during the traffic stop, he called for “an additional
                                                29
2:16-cr-00055-DCN         Date Filed 04/06/18    Entry Number 105        Page 30 of 45




     reiterates the warning of courts before it, that the government cannot “simply proffer

     ‘whatever facts are present, no matter how innocent, as indicia of suspicious

     activity.’” United States v. Foster, 634 F.3d 243, 248 (4th Cir. 2011). And like

     courts before it, this court has concerns about “the way in which the Government

     attempts to spin . . . mundane acts into a web of deception.” Id. The court therefore

     holds that under Rodriguez, there was no reasonable suspicion to extend an

     otherwise–completed traffic stop such that the dog sniff could be executed.

     Defendants’ motion to suppress is granted on this ground alone. And as explained

     below, even if the officers had reasonable suspicion to prolong the traffic stop, Rao

     was not reliable such that its positive “alert” constituted probable cause to conduct the

     search of the car.

            D.      Dog and Alert Reliability

            After Diaz refused consent to search the car, Sweatman arrived and ran Rao

     around the car. Tr. 14:1–5. Rao then “alerted” to the “driver’s door area” of the car,

     according to English. Tr. 14:21–22. Defendants also move to suppress the evidence

     on the ground that Rao and the alert itself were not reliable enough to establish

     probable cause to search the car. The court agrees on both grounds.




     R unit, which is specific to the ACE team, as “typical troopers” are referred to as “F
     units.” Tr. 8:16–20. The composition of the ACE team unit that patrolled I-95 was
     Sweatman, English, and Byrd, all of whom had drug dogs in their respective cars. Tr.
     9:10–14.
             While the court makes no finding, it does note that the structure of the ACE
     team seems to condition officers to create reasonable suspicion where there may be
     none. This demonstrates the wisdom of the observation that “a man hears what he
     wants to hear, and disregards the rest.” N. Indiana Pub. Serv. Co. v. Colorado
     Westmoreland, Inc., 667 F. Supp. 613, 631 (N.D. Ind. 1987), aff’d, 845 F.2d 1024
     (7th Cir. 1988) (citing Paul Simon, “The Boxer” (1968)).
                                                30
2:16-cr-00055-DCN         Date Filed 04/06/18     Entry Number 105          Page 31 of 45




                     1.      Dog Alert

             Defendants first challenge the determination that the drug dog alerted.

     Whether a dog alerts is a question of fact for this court to resolve. United States v.

     Mason, 628 F.3d 123, 130 (4th Cir. 2010). It is undisputed that it was based solely on

     Rao’s “alert” that the officers believed they had probable cause to search the car. Tr.

     15:11–13. Sweatman conceded that there were no drugs in the car, and neither was

     there any paraphernalia from which to deduce that drugs were or had been in the car

     such as a pipe or sandwich baggies. Tr. 100:15–101:3.

             What constitutes an “alert” is not clear from the caselaw. Some courts have

     adopted the view that an alert is trained behavior that can be either aggressive, such as

     biting or scratching, or passive, such as sitting or looking. See United States v.

     Johnson, 323 F.3d 566, 567 (7th Cir. 2003). By contrast, others have determined that

     a change in behavior is insufficient to constitute an alert and instead that the drug dog

     must perform the full indication that it is trained to do before it constitutes an alert

     such that the officers have probable cause to search the vehicle. See United States v.

     Rivas, 157 F.3d 364 (5th Cir. 1998). The Fourth Circuit has not yet determined what

     the proper “alert” standard is for a drug detection dog.

             The difference between an “alert” and an “indication” is important to the

     court’s analysis on whether Rao alerted. Sweatman testified that only he, as Rao’s

     handler, would be able to determine if Rao “alerted,” as “[e]ach situation would vary”

     in determining whether Rao alerted. Tr. 111:1–12. Sweatman extrapolated on this

     difference between an alert and an indication, explaining that an alert “is a behavior

     exhibited . . . interpreted by the handler of the canine . . . typically a change in body



                                                 31
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105         Page 32 of 45




     posture, a change in rapid respiration.” Tr. 108:20–25. In contrast, Sweatman

     testified that an indication “is a trained behavior for the canine to exhibit when he

     believes he has reached as close as he possible can to what he believes the source of

     the trained odor is.” Tr. 109:3–5. An indication is distinct from an alert, according to

     Sweatman, as it is actually trained by the trainer of the dog and simply “maintained”

     by the handler. Tr. 111:20–22.

            As best the court can discern, the government is arguing that Rao showed alert

     behavior by a change in rapid respiration and change in body posture but did not

     indicate—but that this “alert behavior,” which only Sweatman as Rao’s handler could

     discern constitutes a dog alert. A review of the dashcam video reveals only that Rao

     jumped up and down while Sweatman tries to restrain it. The court has no

     information by which it can determine that this is how Rao was trained to “alert”—

     indeed, the court understands that Rao was trained only to “indicate,” and finds that

     he did not show this trained “indication” behavior in the dashcam video.

            The parties did not call any expert witnesses to testify on what constitutes a

     dog alert, and the government now urges the court to accept Sweatman’s testimony as

     conclusive that Rao alerted. Certainly, just because the government did not offer an

     expert witness does not mean that Rao is not reliable. The Fourth Circuit has made

     clear that there is no requirement that dog alert testimony needs to satisfy the

     requirements for expert scientific testimony, as the dog alert is not actual evidence of

     drugs but “establish[es] probable cause to obtain a warrant to search for such

     substantive evidence.” United States v. Allen, 159 F.3d 832, 839–40 (4th Cir. 1998).

     But what concerns the court is that it had only the law enforcement officers’



                                                32
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105         Page 33 of 45




     testimony to consider in evaluating whether Rao did in fact “alert.” And of the three

     officers involved in the stop, Byrd testified that he did not personally observe Rao

     “indicate” or “alert,” as he was “basically watching the occupants of the car” and

     testified only that Sweatman advised him that Rao “did indicate [as opposed to alert]

     on the driver’s side of the vehicle.” Tr. 169:18–21.

            During the suppression hearing, English, who had a drug dog himself, testified

     that he observed Rao “alert,” which he defined as “a change in behavior” such as

     “[f]aster respirations” or a “change” in the dog’s posture. Tr. 14:21–15:9. English

     further testified that the handler “needs to know” how the drug dog reacts, but that the

     drug dog is trained to react in a certain manner. While this training is done before the

     drug dogs arrive at the SCHP—ostensibly at the Alabama Canine Law Enforcement

     Training Center (“Alabama Canine Center”) where the drug dogs are trained—the

     court was presented with no records of how Rao was trained to indicate. Sweatman

     testified that an “alert” “is simply a behavior as perceived by the handler of that

     particular canine. An alert behavior could be different for each individual dog, but an

     alert for a dog is perceived by that handler.” Tr. 86:21–24. Specifically, Sweatman

     testified that Rao’s “alert” was when he would “drop posture,” and that “[t]ypically

     his ears may move backwards,” and he would “typically pull me toward where he’s

     picking up trained odor.” Tr. 87:3–8. Sweatman went on to say that Rao could alert

     by “you know, leap[ing] up on the side of something.” Tr. 87:11–14. In this

     particular search, Sweatman testified that he knew Rao alerted because it “changed to

     rapid respiration, change in body posture.” Tr. 92:14–25. Sweatman testified that

     Rao’s “trained behavior” is that it is “trained passively, to indicate passively where he



                                                33
2:16-cr-00055-DCN      Date Filed 04/06/18      Entry Number 105        Page 34 of 45




     would either sit, lay, or stare.” Tr. 94:6–12. But when asked to pinpoint when in the

     dashcam video Rao “sat and indicated,” Sweatman admits that “you can’t get a

     clear—a clear visual of that on this footage.” Tr. 96:1–25.

            The court in United States v. Wilson, 995 F. Supp. 2d 455 (W.D.N.C. 2014)

     confronted a similar set of facts. In Wilson, the drug dog’s trained indication was to

     “sit and stare” when it detected narcotics. Id. at 474. The court in Wilson reviewed

     the dashcam video and found that at no time did the dog “sit and stare.” Id. The

     government then argued that the court should accept the handler’s testimony that

     although the dashcam video did not show that the drug dog “sat and stare” it had

     demonstrated other behavior that the handler interpreted to mean that the drug dog

     had “casted” or “alerted” to the oxycodone—which the dog’s handler admitted that it

     was not trained to detect. Id. at 475. The Wilson court refused to accept such

     testimony from a drug dog handler, reasoning that “with law enforcement’s use of

     detection dogs, the dog becomes the functional equivalent of the magistrate,” and so

     it was reasonable to expect “the objective basis informing the probable cause

     determination” in such a case. Id. The Wilson court reasoned that to accept the

     handler’s “subjective determination that a dog has made some otherwise undetectable

     alert” was untenable, as such a conclusion would be “for all practical purposes,

     immune from review” and ultimately found that the drug dog’s “‘change in behavior’

     cannot be equated to an ‘alert.’” Id. The Wilson court ended with the following

     caution:

            To allow a search predicated upon an officer’s interpretation of the
            utterly minimalist lesser showing exhibited by the dog in this case
            would be tantamount to permitting law enforcement officers to issue



                                               34
2:16-cr-00055-DCN         Date Filed 04/06/18     Entry Number 105         Page 35 of 45




             their own search warrants based upon their own subjective analysis,
             something the Framers explicitly prohibited.

     Id. This court is guided by the Wilson court’s well–reasoned opinion, and refuses to

     accept Sweatman’s testimony that the dog alerted for those reasons.

             Based on the evidence submitted to the court during the evidentiary hearing

     and after considering the relevant case law the court finds that Rao’s behavior change

     did not constitute an alert.

                     2.      Drug dog reliability

             Although the court has already found that Rao did not “alert,” the court now

     turns to analyze the reliability of Rao itself as an alternate ground for granting the

     motion to suppress. It is well-established that a “reliable” dog alert establishes

     probable cause that illegal drugs are present. Illinois v. Caballes, 543 U.S. 405, 409–

     10 (2005). In Harris, 568 U.S. at 244, the Court found that to assess the reliability of

     a drug dog the government need not create a strict evidentiary checklist such as

     introducing “comprehensive documentation of the dog’s prior ‘hits’ and ‘misses’ in

     the field,” but that a finding of “reliability” for a drug dog should be a balancing

     test. 13 The Harris court found that “evidence of a dog’s satisfactory performance in a

     certification or training program can itself provide sufficient reason to trust his alert.”

     If the dog does not have a formal certification it has undergone to test its reliability in



             13
                The government discussed Harris briefly at the conclusion of the second
     suppression hearing, stating “I was going to address Harris. . . but my understanding
     is that case has largely been treated as an outlier in this particular type of situation.”
     Tr. 249:10–14. The court questions whether any decision of the Supreme Court could
     be described as an “outlier” and the government offered no evidence that Harris has
     been considered an “outlier” where the reliability of a drug detection dog is
     challenged. This court follows Harris as the seminal case on the standard of probable
     cause in determining reliability of a drug dog.
                                                 35
2:16-cr-00055-DCN          Date Filed 04/06/18    Entry Number 105         Page 36 of 45




     a controlled setting, the dog could still be reliable if “the dog has recently and

     successfully completed a training program that evaluated his proficiency in locating

     drugs.”

               The Harris court points out that during a probable cause hearing focusing on

     the dog alert, the court should evaluate the proffered evidence to determine what all

     of the circumstances demonstrate. Harris, 568 U.S. at 248. If defendants have

     challenged the government’s case by “disputing the reliability of the dog overall or of

     a particular alert,” then the court should weigh the competing evidence. The Harris

     court discusses that even a drug dog that is “generally reliable”—for example,

     through evidence of the dog’s certification by a “bona fide organization”—the

     circumstances surrounding the particular, challenged alert could undermine the case

     for probable cause. This could include if the officer “consciously or not” cued the

     dog, or if the team was “working under unfamiliar conditions.” Certainly, the factors

     offered by the Harris court are not exhaustive, but they offer a roadmap of how the

     court should conduct its probable cause analysis on the reliability of the drug dog

     both generally as a drug dog and under the specific circumstances of the search of

     Diaz’s car.

                      a.      False Positives




                                                 36
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105         Page 37 of 45




            The defendants point out that the dog sniff was a false positive, 14 as no drugs

     were found in the car. 15 This is certainly true—Rao was not trained to detect credit

     cards. And indeed, Sweatman admitted that it was “not uncommon” for Rao to alert

     or indicate but drugs were not found in the vehicle. Tr. 112:6–14.

            However, the Fourth Circuit has adopted the reasoning of the Eighth Circuit in

     finding that “a low percentage of false positives is not fatal to the finding that a drug

     detection dog is properly trained and certified.” United States v. Age, 447 F. App’x

     470, 471 (4th Cir. 2011) (citing United States v. Scott, 610 F.3d 1009, 1014 (8th Cir.

     2010), cert. denied, 562 U.S. 1160, (2011)). In Age, the Fourth Circuit found that




            14
                Certainly, the rate at which the drug dog detected false positives is just
     another factor in the court’s determination of whether there was probable cause to
     search the car. Here, the dog alert was not the only evidence that the government
     could have used to argue that the officers had probable cause to search the car. In
     addition to the dog’s positive alert, there was the conflicting information given by the
     car’s occupants on when the sister’s wedding was, the furtive movements of the
     passenger in the passenger side of the car, the passenger’s response to questioning
     regarding contraband, and the air fresheners in the car. Byrd testified that based on
     his training and experience, circumstances such as the air fresheners in the car and
     Diaz’s nervous demeanor are indicators of criminal behavior. But as discussed at
     length in Section III.2, the court does not find that these circumstances rose to
     reasonable suspicion such that Byrd could have prolonged the traffic stop to conduct
     the dog sniff, let alone to the level of probable cause to allow the search of the car.
             15
                The court notes that Rao was not trained to detect drugs but to detect the
     odor of drugs. As the Harris court explains:

            A detection dog recognizes an odor, not a drug, and should alert
            whenever the scent is present, even if the substance is gone (just as a
            police officer's much inferior nose detects the odor of marijuana for
            some time after a joint has been smoked). In the usual case, the mere
            chance that the substance might no longer be at the location does not
            matter; a well–trained dog's alert establishes a fair probability—all that
            is required for probable cause—that either drugs or evidence of a drug
            crime . . . will be found.

     Harris, 568 U.S. at 246.
                                                 37
2:16-cr-00055-DCN      Date Filed 04/06/18       Entry Number 105         Page 38 of 45




     there was sufficient evidence of a dog’s reliability where the government provided

     evidence regarding the dog’s detailed training and continuing certification, the officer

     testified that he had worked with the dog for years, and that the dog’s alerts were 80–

     90% accurate. Exactly what percentage of false positives constitutes a “low

     percentage” is not immediately discernible from the caselaw. In United States v.

     Donnelly, 475 F.3d 946, 955 (8th Cir. 2007), which the Age court cited, the Eighth

     Circuit held that even a 54% accuracy rating for a drug dog was sufficient to find

     probable cause “taking into account the totality of the circumstances present at the

     scene . . . , [the defendant’s] behavior and condition, [the dog’s] history and pedigree,

     and [the dog’s] positive indication of drugs within the vehicle.” In United States v.

     Koon Chung Wu, 217 F. App’x 240 (4th Cir. Feb. 2, 2007), the Fourth Circuit

     discussed the accuracy rate of Cody, a drug dog:

            The district court found that Cody had demonstrated an impressive
            degree of accuracy in training exercises, and based on its review of
            Cody’s past field sniffs, the court found that Cody was accurate
            approximately 67% of the time in the field when sniffing for narcotics.
            While we believe that this factual finding was unnecessary for the
            district court to have concluded that probable cause existed for the
            searches given the evidence of Cody’s training and certification, it
            serves to bolster the court’s determination that Cody was sufficiently
            reliable for his positive alerts to establish probable cause for the May 9
            and June 27 searches. See United States v. Robinson, 390 F.3d 853, 874
            (6th Cir. 2004) (“[A]fter it is shown that the dog is certified, all other
            evidence relating to his accuracy goes only to the credibility of the
            testimony, not to the dog’s qualifications.” (internal quotation marks
            omitted)).

     Here, the government submitted Rao’s field records span some hundreds of pages in

     the record and cover multiple years. But while the court can consider field records,

     these records are prone to containing false positives and false negatives. For

     example, during the hearing there was some consternation about how to verify Rao’s

                                                38
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105         Page 39 of 45




     detection of an odor in the field. Specifically, Sweatman was asked about cases

     where Rao alerts but no drugs were found. Tr. 117:8–24. Sweatman testified that in

     the event that no drugs were found, he would “ask the occupants” of the vehicle

     “[d]epending on the situation.” Tr. 117:25. Where no drugs were found in the

     vehicle and no indication of illegal drug usage such as drug paraphernalia was found,

     Sweatman testified that he would “verify” if drugs had previously been in the vehicle

     by asking the occupants of the vehicle if they had recently been transporting

     narcotics. Tr. 118:8–22. It is precisely this type of situation that makes discerning an

     error rate in the field difficult, and why the court finds records from a controlled

     environment more dependable.

            What is especially concerning is not necessarily Rao’s rate of false positives

     in the field but the lack of Rao’s error rate in a controlled environment. There was no

     testimony offered regarding the phases of the certification test that Sweatman and the

     drug dog had to complete to receive certification. The government did discuss “the

     extent of the training” received by Rao, specifically that Rao first completed the

     Alabama Canine Law Enforcement Officer’s Training Center 160 hour “Narcotic

     Certification” test in 2011 with an overall score of “Above Average.” Court’s Ex. 2.

     This test consisted of ten different searches with a total of fourteen finds in a variety

     of environments using varying amounts of narcotics substances such as marijuana,

     heroin, crack cocaine, and methamphetamine. Id. Rao then participated in a 4–hour

     Narcotics Re–Certification Test with the same training center in 2012, 2013, 2014,

     2015, and 2016, receiving an “Above Average” score at each of these annual

     recertification. Id. Sweatman explained that at the Alabama Canine Center, the drug



                                                 39
2:16-cr-00055-DCN       Date Filed 04/06/18      Entry Number 105         Page 40 of 45




     dog “would need to find all the drugs in order to pass the certification.” Tr. 124:3–

     25. Then, during the “maintenance training” that the drug dogs underwent,

     Sweatman explained that if Rao “miss[ed] something” it was allowed to “try again”

     and the handler would “try to reintroduce the dog to that area.” Tr. 127:1–19. During

     the recertification process done at Alabama Canine Center, Sweatman explained that

     when a drug dog missed something on the test, the test proctor would inform the

     handler “there’s a problem with certification” and the handler would then “have to

     correct that problem,” after which the drug could test again at the test proctor’s

     discretion. Tr. 128:10–23. English, who has also had drug dogs during his time at

     the SCHP and indeed had a drug dog with him on the night of the search, described

     the training that the drug dogs receive as follows:

            We’re sent to a four–week handler course in Alabama with our current
            dogs where we receive training with the dogs to handle them, and then
            we’re certified. Each year we go back to Alabama to get recertified
            again, and then every month we have monthly maintenance training we
            do to keep the dogs’ records up for their work throughout the year.

     Tr. 7:14–19. English testified that the training consists of different “hides” in a

     controlled environment with the drug odors that the drug dog is trained to detect—

     specifically, marijuana, cocaine, heroin, and methamphetamine. Tr. 84:24–85:5.

            But troublingly, while the government presented reports of how Rao fared in

     the field, it did not disclose certification records or training standards and manuals.

     Indeed, the government admitted that in its review of Rao’s training records it was

     “unable to locate any records indicating training scenarios lending themselves to

     determining an error rate.” Id. (emphases added). The government argued that

     Sweatman and Rao had been “above average.” Tr. 237:16–20. The court then asked



                                                40
2:16-cr-00055-DCN       Date Filed 04/06/18        Entry Number 105         Page 41 of 45




     “[w]hat does above average mean” and presented the hypothetical of whether

     recertification would occur even if “he only makes mistakes 49.9 percent of the

     time.” Tr. 21:21–22. Counsel for the government answered that he was “not sure,

     based off the records [he has] seen or [his] conversations,” and that he ultimately

     “[didn’t] know the answer to that.” Tr. 237:23–25.

             In United States v. Cedano–Arellano, 332 F.3d 568 (9th Cir. 2003), the Ninth

     Circuit held that Federal Rule of Criminal Procedure 16 compels the government to

     disclose the “handler’s log,” as well as “training records and score sheets,

     certification records, and training standards and manuals” pertaining to the dog

     because these materials were “crucial to [the defendant’s] ability to assess the dog’s

     reliability, a very important issue in his defense, and to conduct an effective cross–

     examination of the dog’s handler” at the suppression hearing. Granted, Cedano–

     Arellano was before the court on a discovery violation and the court ultimately found

     only that the defendant was “hamstrung” by his inability to properly cross-examine

     the adequacy of the certification program. But just as a defendant is hamstrung if the

     government does not provide such materials where the government seeks to rely on

     the drug dog alert as the evidentiary basis for its search and the defendant has

     contested the adequacy of the certification program, this court is similarly hamstrung.

             The government contends that the defendants “offered nothing to contradict or

     suggest that the dog was anything but reliable.” Tr. 237:14–15. But defendants did

     dispute Rao’s reliability, arguing “[t]here is no presentation . . . of an error rate

     through any of the training records about what exactly a passing grade is, what is

     above average, what is average. . . So it’s our position that [the government] [has] not



                                                  41
2:16-cr-00055-DCN        Date Filed 04/06/18      Entry Number 105         Page 42 of 45




     shown that this is a reliable dog, based upon the training records.” Tr. 245:4–8.

     Courts rely on the dog’s certification as proof of its reliability. United States v.

     Kennedy, 131 F.3d 1371, 1378 (10th Cir. 1997) (“[W]ith a canine, the reliability

     should come from the fact that the dog is trained and annually certified to perform a

     physical skill.”) (quotation omitted). Given that the government did not present any

     records of Rao’s performance in a controlled environment, it follows that the court

     has no way of determining Rao’s error rate in a controlled environment.

                    b.      Training Facility as “Bona Fide Organization”

            The court now turns to the training facility at which Rao was certified to be a

     K9 unit, and whether it qualifies as a “bona fide” organization such that the court can

     presume, subject to any conflicting evidence offered, that Rao’s alert provided

     probable cause to search. Harris, 568 U.S. at 246. Defendants challenge the

     Alabama Canine Center as not a “bona fide” organization, arguing that “[t]here’s

     been no testimony about this particular training center, that it is, you know, bona fide.

     They have certificates, but we don’t know the procedures that they use to test the

     dogs. And we don’t know what the passing rate even is.” Tr. 245:9–13.

            The primary basis upon which the Supreme Court allows a dog sniff to create

     probable cause is the training and certification of the canine which gives confidence

     in the reliability of the dog’s signal that contraband is present. See Harris, 133 S. Ct.

     at 1057 (2013) (“[E]vidence of a dog’s satisfactory performance in a certification or

     training program can itself provide sufficient reason to trust [the dog’s] alert.”).

     Specifically, the Harris court held that there is a presumption of probable cause where

     there is training or certification conducted by a “bona fide” organization. Harris, 568



                                                 42
2:16-cr-00055-DCN       Date Filed 04/06/18       Entry Number 105         Page 43 of 45




     U.S. at 246. It did not, unfortunately, provide the contours of just what a “bona fide”

     organization is.

            Rao was certified through the Alabama Canine Center. Tr. 84:21–25. When

     pressed, Sweatman admitted that to his knowledge the Alabama Canine Center is not

     certified by the National Association of Public Working Dogs Association

     (“NAPWDA”), an organization that establishes national standards for the training of

     both handlers and canines. Tr. 113:4–23; 114:6–11. Certainly, the court does not

     view NAPWPA certification as determinative of whether Alabama Canine Center is a

     “bona fide” organization. And indeed, it may be that there is no requirement that the

     highway patrol drug dogs need to be certified by NAPWPA. Tr. 122:22–123:4. But

     the court was provided no evidence by which to determine the adequacy of the

     certification program at Alabama Canine Center—its standards could be “too lax”

     and its methods “faulty,” as prescribed by the Harris court. Harris, 568 U.S. at 247

     (“A defendant, however, must have an opportunity to challenge such evidence of a

     dog’s reliability . . . [t]he defendant, for example, may contest the adequacy of a

     certification or training program, perhaps asserting that its standards are too lax or its

     methods faulty.”). The court simply has no way to know. When pressed about the

     training and certification of Rao, the government argued that there is “nothing

     suggesting” that the training center is “anything but a reliable training center.” Tr.

     248: 13–15. Of course, to accept this argument would mean that a court must accept

     the government’s word that a training center is reliable even when no evidence about

     the center’s certification is provided to the court. The court cannot countenance such




                                                 43
2:16-cr-00055-DCN         Date Filed 04/06/18      Entry Number 105         Page 44 of 45




     a rule. To do so would be to abdicate its responsibility to Harris to evaluate a drug

     dog’s reliability.

             The court makes no finding on whether the Alabama Canine Center is a “bona

     fide” organization, as it does need to—even assuming that it is, as explained above,

     what concerns the court most is not whether the Alabama Canine Center is certified

     but if the Alabama Canine Center’s certification of Rao is valid such that the court

     can consider Rao a reliable drug dog. To answer this, the court needed records of the

     results of Rao’s certification and recertification tests as well as his error rate in a

     controlled environment. The government did not present any of this evidence.

             Ultimately, this court must be able to evaluate Rao’s performance during

     controlled evaluations. The court remains unaware what the passing rate is for a

     certification test at the Alabama Canine Center, as well as what it means for a drug

     dog to achieve a score of “above average” as opposed to “satisfactory” or “excellent.”

     The court also has no failure rates for the certification test at the Alabama Canine

     Center. The government has failed to provide any evidence on Rao’s error rate in a

     controlled environment or any information about the adequacy of the certification

     program of the Alabama Canine Center. Therefore, even assuming that Rao did

     “alert”—which the court finds that he did not—the court finds that Rao was not

     sufficiently reliable such that his positive “alert” would constitute probable cause to

     search defendants’ vehicle as set forth in Harris. Ultimately—and unfortunately—

     Rao’s sniff is simply not “up to snuff.” Harris, 568 U.S. at 248.




                                                  44
2:16-cr-00055-DCN    Date Filed 04/06/18     Entry Number 105      Page 45 of 45




                                  III. CONCLUSION

           For the reasons set forth above, the court GRANTS the motion to suppress.

           AND IT IS SO ORDERED.




                                       DAVID C. NORTON
                                       UNITED STATES DISTRICT JUDGE


     April 6, 2018
     Charleston, South Carolina




                                            45
